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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES – GENERAL
 Case No.        2:21-cv-09619-ODW (AFMx)                                 Date   March 21, 2022
 Title           Luz Zendejas v. Reseda 8549, LLC et al.


 Present: The Honorable          Otis D. Wright II, United States District Judge
                Sheila English                             Not reported                          N/A
                Deputy Clerk                       Court Reporter / Recorder                   Tape No.
          Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                     Not present                                            Not present
 Proceedings (In Chambers):
       Pursuant to Plaintiff’s Notice of Voluntary Dismissal, (ECF No. 15), and Federal Rule of
Civil Procedure 41(a)(1)(A)(i), IT IS HEREBY ORDERED that:

         1.      The entire action and all claims asserted therein are hereby DISMISSED; and

         2.      All dates and deadlines in this action are VACATED and taken off calendar.

         The Clerk of the Court shall close this case.


         IT IS SO ORDERED.
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                                                   Initials of Preparer   SE




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